Case 1:04-cv-10981-PBS Document 15-2 Filed 12/16/04 Page 1 of 3

EXHIBIT A
TO CASE MANAGEMENT ORDER

District of Massachusetts

The Guardian Life Ins. Co. v. Pfizer, inc., et al.
C.A. No. 04-10739

Aetna, Inc. v. Pfizer, Inc., et al.
C.A. No. 04-10958

Harden Manufacturing Corp. v. Pfizer, Inc., et al.
C.A. No. 04-10981

Teamsters Health & Welfare Fund of Philadelphia and Vicinity v. Pfizer, Inc., et al.
C.A. No. 04-10984

Eastern District of Louisiana

Emma B. Christina v. Pfizer, Inc., et al.
C.A. No. 04-1450

Debra Mull v. Pfizer, Inc., et al.
C.A. No. 04-1489

Maggie Dorty v. Pfizer, Inc., et al.
C.A. No. 04-1547

Dianne Hood v. Pfizer, Inc., et al.
C.A. No. 04-1575

Joyce B. Duhe vy. Pfizer, Inc., et al.
C.A. No. 04-1591

15
Case 1:04-cv-10981-PBS Document 15-2 Filed 12/16/04 Page 2 of 3

Patricia Ann White v. Pfizer, Inc., et al.
C.A. No. 04-1712

Western District of Louisiana

Annie D. Blevins v. Pfizer, Inc., et al.
C.A. No. 6:04-1162

District of New Jersey

ASEA/AFSCME Local 52 Health Benefits Trust and Brian Krah v. v. Pfizer, Inc., et al.
C.A. No. 04-02577

Julie K. Bakle v. Pfizer, Inc., et al.
C.A. No. 2:04-2935
Northern District of Texas
Tammylee Willoz v. Pfizer, Inc., et al.

C.A. No. 04-1234

Southern District of Alabama

Gulf Distributing Holdings, LLC v. Pfizer, Inc., et al.
C.A. No. 04-0403

Southern District of Mississippi

Mary Jane Gordon v. Pfizer, Inc., et al.
C.A. No. 04-552

Southern District of New York

Lorraine Kopa v. Pfizer, Inc., et al.
C.A. No. 04-4593

Northern District of Florida

Sylvia G. Hyman v. Pfizer, Inc., et al.

16
Case 1:04-cv-10981-PBS Document 15-2 Filed 12/16/04 Page 3 of 3

C.A. No. 3:04-215

Clifford Eckenrode v. Pfizer, Inc., et al.
C.A. No. 3:04-240

Northern District of Ohio

Mary Lou Lienerth v. Pfizer, Inc., et al.
C.A. No. 04-1161

Southern District of Illinois

Brenda Straddeck v. Pfizer, Inc., et al.
C.A. No. 04-4106

Eastern District of Arkansas

Claudia Lang v. Pfizer, Inc., et al.
C.A. No. 5:04-234

James Hope v. Pfizer, Inc., et al.

C.A. No. 5:04-248

Northern District of Georgia

Johnny Ray Meeks, et al. y. Pfizer, Inc., et al.
C.A. No. 04-1781

Southern District of Indiana

Gerald Smith v, Pfizer, Inc., et al.
C.A. No. 1:04-1052

District of Minnesota
John Lerch y, Pfizer, Inc., et al,

C.A. No. 0:04-3021

Western District of Tennessee

James Doyle v. Pfizer, Inc., et al.
C.A. No. 2:04-2509

17
